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                  UNITED STATES BANKRUPTCY COURT
                                    Southern District of New York

In re:   Boaz Bagbag
         Debtor(s)                                                               Case No: ______

                                                                                 Chapter _7_____


             VERIFICATION OF CREDITOR MAILING LIST - MATRIX

  The debtor(s) hereby certify, verify and declare under penalty of perjury that the attached
  mailing list matrix (list of creditors) is true and correct to the best of their knowledge.

Date:    07/10/2008                    /S/ _Boaz Bagbag_____________________________________
                                            Boaz Bagbag, Debtor


Date:                                  /S/ __________________________________________________


                                       (In joint case, both debtors must sign)
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B & N Realty Holding Corp.
1055 Franklin Avenue, Suite 206
Garden City, NY 11530

Flash Sales, Inc.
1055 Franklin Avenue, Suite 206
Garden City, NY 11530

Pace Auto Parts, Inc.
10 Park Avenue, Suite 2A
New York, NY 10016

Summa Capital Corp.
Empire State Building
350 Fifth Avenue, Suite 7612
New York, NY 10118

Citibank
PO Box 769013
San Antonio, TX 78245-9013

Chase
800 Brooksedge Blvd
Westerville, OH 43081

North Fork Bank d/b/a Capital One Bank
201 St. Charles Ave, 16th Floor
New Orleans, LA 70130

Davis Electronics
Attn: Jason Levine
419 Park Avenue South, Ste 504
New York, NY 10010

Harlington Realty
Attn: Jason Levine
419 Park Avenue South, Ste 504
New York, NY 10010

Universal Auto
Attn: Jason Levine
419 Park Avenue South, Ste 504
New York, NY 10010
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Rony Abudi
Attn: Bruce Lederman
567 Broadway
Massapequa, NY 11758

Uzi Evron
Attn: Bruce Lederman
567 Broadway
Massapequa, NY 11758

Doron Kessel
Attn: Bruce Lederman
567 Broadway
Massapequa, NY 11758

Robert Bosch, LLC
2800 South 25th Avenue
Broadview, IL 60155

Honeywell, Inc.
39 Old Ridgebury Road
Danbury, CT 06810
